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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SECURITIES AND EXCHANGE COMMISSION,

                                       Plaintiff,                    MOTION TO
       v.                                                            INTERVENE
                                                                     PURSUANT TO
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE,                             FEDERAL RULES OF
and CHRISTIAN A. LARSEN                                              CIVIL PROCEDURE 24

                                       Defendants,
                                                                     20-cv-10832 (AT)
JORDAN DEATON, JAMES LAMONTE,
TYLER LAMONTE, MYA LAMONTE,
MITCHELL MCKENNA, KRISTIANA WARNER and
ALL SIMILARLY SITUATED XRP HOLDERS,

                              Proposed
                              Intervenors.
________________________________________________


       PLEASE TAKE NOTICE THAT Proposed Intervenors, Jordan Deaton, James Lamonte,

Tyler Lamonte, Mya Lamonte, Mitchell Mckenna, Kristiana Warner and all other similarly

situated XRP holders (“XRP Holders”) respectfully move this Court for an Order granting leave

to intervene in the above-captioned case as of right under Federal Rules of Civil Procedure 24(a),

or in the alternative, as a matter of permissive intervention under Federal Rule of Civil Procedure

24(b). The matter will be set for a date and time to be determined by the Court.

       XRP Holders seek intervention for the purpose of protecting their substantial interests

that will be greatly impacted by the disposition of this action.

       The grounds for intervention as of right by XRP Holders are as follows, as explained

more fully in the accompanying Memorandum of Law in Support of Motion to Intervene

(“Memorandum of Law”), filed herewith:
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           1. The Motion to Intervene is timely.

           2. XRP Holders have an interest relating to the property that is the subject of the

               action – XRP.

           3. XRP Holders are so situated that disposing of the action may as a practical matter

               impair or impede their ability to protect its interests.

           4. The existing parties do not adequately represent the interests of XRP Holders.


       The grounds for permissive intervention by XRP Holders are as follows, also as

explained more fully in the accompanying Memorandum of Law:


       1. The Motion to Intervene is timely.

       2. XRP Holders have a claim or defense that shares with the main action a common

           question of law or fact.

       3. The intervention of XRP Holders will not unduly delay or prejudice the adjudication

           of the original parties’ rights.

       4. If granted leave to intervene, XRP Holders will significantly contribute to the full

           development of the underlying factual issues in the case and to the just and equitable

           adjudication of the legal question presented.


       For the reasons set forth above and in the accompanying Memorandum of Law, XRP

Holders respectfully request that the Court grant the Motion to Intervene.




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Dated: March 14, 2021                     Respectfully submitted,




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